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                                                                                                 FILED
                                                                                             IN OPEN COURT




                    IN THE UNITED STATES DISTRICT COURT FOR TF E
                               . EASTERN DISTRICT OF VIRGINIA                           CLERK y.S, DISTRICT COURT
                                                                                          AIF7.ANDR!A. VIRGINIA

                                        Alexandria Division


UNITED STATES OF AMERICA                                UNDER SEAL


          V.                                            Case No. 1:24-CR-249


ASIF WILLIAM RAHMN,

                   Defendant.


                                         ORDER TO SEAL


        The UNITED STATES, pursuant to Local Rule 49(B) of the Local Criminal Rules for the

United States District Court for the Eastern District of Virginia, having moved to sea! the


indictment, the Motion to Seal, and proposed Order in this matter; and

        The COURT, having found that revealing the material sought to be sealed would

jeopardize an ongoing criminal investigation; having considered the available alternatives that are

less drastic than sealing, and finding none would suffice to protect the government’s legitimate

interest in concluding the investigation; and finding that this legitimate government interest

outweighs at this time any interest in the disclosure of the material; it is hereby

        ORDERED, ADJUDGED, and DECREED that, the indictment. Motion to Seal, and this

Order be Sealed until the defendant is arrested.




                                                       Ivan D. D^-s^
                                                       United States Magistrate Judge
Date:    ^
        Alexandria, Virginia
